             IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS-EASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )              19 CR 567
       v.                                 )
                                          )              Judge Leinenweber
ROBERT KELLY                              )

       DEFENDANT ROBERT KELLY’S RENEWED MOTION FOR BOND1


       We are respectfully renewing our request for a bail hearing and order

granting release. Robert Kelly, a pretrial defendant currently at the Chicago MCC

is plainly at risk for contracting COVID-19. Counsel was advised last night that

one inmate on Mr. Kelly’s floor had tested positive for Covid 19 and been taken to

the hospital. The Director of the Federal Defender’s Office for the NDIL sent an

email this morning advising that “The MCC is in the midst of a serious outbreak”.

Release is now required. See also

https://chicago.suntimes.com/coronavirus/2020/4/18/21225747/coronavirus-cases-

rising-chicago-federal-jail

       In making this request Mr. Kelly remains mindful of the fact that on the last

status date he withdrew his motion asking that the court reconsider his detention.

Dkt. 54. He is also mindful that he is still being detained on an order out of the

Eastern District of New York. A new request has been filed before that court. Mr.

Kelly request that this Court defer any ruling until after the New York court has



1Kelly acknowledges that much of this motion is from a template circulated by the federal
defender program, and virtually identical to his request filed at the end of March. Dkt. 107.



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acted on his request, less this Court were to grant his request and that court did not

he would simply end up in the same unhealthy conditions, just physically in New

York.

        The BOP is now on their 6th “action plan”. The simple truth is they are at the

mercy of this virus. Those now detained cannot be protected from the jail epidemic,

and if infected will without question suffer from inferior health care.

        The Bail Reform Act provides for the “temporary release” of a person in pretrial

custody “to the extent that the judicial officer determines such release to be necessary

for preparation of the person’s defense or for another compelling reason.” 18 U.S.C.

§ 3142(i). The health risk to Mr. Kelly, because of his age and existing health issues,

especially considering the conditions at the MCC, necessitates his release on bail.

        Mr. Kelly is requesting that this court consider all the arguments made in his

previously filed request for reconsideration of detention, in addition to the additional

arguments made herein. Dkt. 54.

        If Mr. Kelly were to be released, he would live at “the Roosevelt Collection

Lofts”, a large apartment complex just west of Clark Street on Roosevelt Road. He

would reside with Joycelyn Savage. He would submit to any conditions that this court

saw fit, including home incarceration.

        For health reasons people are supposed to remain at a “social distance” which

the experts have defined as at least six feet. They are supposed to avoid interaction.

These are the basic steps to try and not become infected. These basic steps are

simply impossible in a jail setting. No matter what steps they take the sanitation




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will be substandard, the risk of an internal pandemic at the MCC is great, and if

one does get sick jail healthcare is notoriously substandard. Make no mistake about

it, this is a deadly disease.



                   The Bail Reform Act Requires Mr. Kelly’s Release

       A “judicial officer may, by subsequent order, permit the temporary release of

the person, in the custody of a United States marshal or another appropriate

person, to the extent that the judicial officer determines such release to be

necessary for preparation of the person's defense or for another compelling reason.”

18 U.S.C. § 3142(i). The circumstances that existed when detention was ordered

detained have now changed.

       As an initial matter, the Bail Reform Act requires that a court should “bear

in mind that it is only a ‘limited group of offenders’ who should be denied bail

pending trial.” United States v. Shakur, 817 F.2d 189, 195 (2d Cir. 1987) (quoting

S. Rep. No. 98-225 at 7, as reprinted in 1984 U.S.C.CA.N. 3182, 3189); see United

States v. Salerno, 481 U.S. 739, 755 (1987) (suggesting that “detention prior to trial

or without trial is the carefully limited exception” to liberty before trial). One

charged with a crime is, after all, presumed innocent. Stack v. Boyle, 342 U.S. 1, 4

(1951). A single individual unnecessarily detained before trial is one individual too

many, and the increasing use of the practice places tremendous wear on our

constitutional system. United States v. Montalvo-Murillo, 495 U.S. 711, 723–24

(1990) (Stevens, J., dissenting, joined by Brennan and Marshall, JJ.). Due to the




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crucial interests involved, it follows that a “case-by-case” approach is required at

any stage of the case in assessing the propriety of pretrial detention. See United

States v. Gonzales Claudio, 806 F.2d 334, 340 (2d Cir. 1986) (discussing due process

analysis for evaluating propriety of prolonged pretrial detention, and the interests

at stake) (citations omitted), cert. dismissed sub nom., Melendez-Carrion v. United

States, 479 U.S. 978 (1986).

      The courts have long recognized that there is no greater necessity than keeping

a defendant alive, no matter the charge. As Judge Weinstein held, “We do not punish

those who have not been proven guilty. When we do punish, we do not act cruelly.

Continued incarceration of this terminally ill defendant threatens both of these

fundamental characteristics of our democracy.”         United States v. Scarpa, 815

F.Supp.88 (E.D.N.Y. 1993) (pretrial defendant with AIDS facing murder charges

released on bail because of the “unacceptably high risk of infection and death on a

daily basis inside the MCC”). See also United States v. Adams, No. 6:19-mj-00087-

MK, 2019 WL 3037042 (D. Or. July 10, 2019) (defendant charged with violation of the

Mann Act and possession of child pornography and suffering from diabetes, heart

conditions and open sores released on home detention because of his medical

conditions); United States v. Johnston, No. 17-00046 (RMM) 2017 WL 4277140

(D.D.C. Sept. 27, 2017) (defendant charged with violation of the Mann Act and in

need of colon surgery released to custody of his wife for 21 days); United States v.

Cordero Caraballo, 185 F. Supp. 2d 143 (D.P.R. 2002) (badly wounded defendant

released to custody of his relatives).




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         This Court should consider the “total harm and benefits to prisoner and

society” that continued pretrial imprisonment of Mr. Kelly will yield, relative to the

heightened health risks posed to Mr. Kelly during this rapidly encroaching pandemic.

See United States v. D.W., 198 F. Supp. 3d 18, 23 (E.D.N.Y. 2016); Davis v. Ayala,

135 S. Ct. 2187, 2209 (2015) (Kennedy, J., concurring) (calling for heightened judicial

scrutiny of the projected impact of jail and prison conditions on a defendant); United

States v. Mateo, 299 F. Supp. 2d 201, 212 (S.D.N.Y. 2004) (reducing sentence where

defendant’s pretrial conditions were “qualitatively more severe in kind and degree

than the prospect of such experiences reasonably foreseeable in the ordinary case”);

United States v. Francis, 129 F. Supp. 2d 612, 619-20 (S.D.N.Y. 2001) (reducing

sentence in acknowledgment of “the qualitatively different, substandard conditions

to which the Defendant was subjected” in pretrial detention).

         In addition, continued detention is not necessary to ensure the primary goals

of pretrial detention—appearance in court and community safety. Statistics

demonstrate that nearly everyone on pretrial release in the federal system appears

in court and does not reoffend. In 2019, fully 99% of released federal defendants

nationwide appeared for court, and over 98% did not commit new offenses while on

bond.2




2 See AO Table H-15, http://jnet.ao.dcn/sites/default/files/pdf/H15_Ending12312019.pdf
(showing a nationwide failure to appear rate of 1.1% and a rearrest rate of 1.8% in 2019).


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Moreover, this near-perfect compliance rate is seen equally in federal districts with

very high release rates (~70%) and those with very low release rates (~24%). The

below chart reflects this data:



80.00%
                         69.08%
70.00%

60.00%

50.00%

40.00%

30.00%          24.37%
20.00%

10.00%
                                                 1.78%    0.42%                   1.10%     0.91%
 0.00%
                 Release Rate                Failure-to-Appear Rate           Rearrest Rate (Felony +
                                                                                  Misdemeanor)
               Districts with Lowest Release Rates       Districts with Highest Release Rates


Conditions of Release Are Available That Allow Mr. Kelly To Be Treated Humanely
             While Also Ameliorating Any Danger To The Community

         From Mr. Kelly’s perspective his life—not only his liberty—is on the line,

creating a powerful incentive to abide by any release conditions the Court may impose

and changing the calculus that initially led to the denial of bail in this case. He would

be foolish to leave his home. Indeed, there is an order that requires people to stay in


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their homes. Electronic monitoring could ensure that he stays in his home.

      Critically, during this temporary release, Mr. Kelly could be supported and

monitored by Pretrial Services. Since 2009, Pretrial Services’ data has found that

only 2.9% of defendants in the highest risk category were re-arrested for a violent

crime while on release.3 In the Northern District of Illinois, the Office of Pretrial

Services reports that in Fiscal Year 2019, the failure to appear rate was only 0.4%,

and only 3.2% of supervisees reoffended. Mr. Kelly poses a lower risk of violating

supervision, particularly during a global pandemic during which even leaving the

house will endanger their lives.



                                             Respectfully submitted,

                                             /s/ Steven Greenberg



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3Thomas H. Cohen, Christopher T. Lowenkamp, and William E. Hicks, Revalidating the
Federal Pretrial Risk Assessment Instrument (PTRA): A Research Summary (September
2018) at https://www.uscourts.gov/sites/default/files/82_2_3_0.pdf.


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